               Case 2:16-cr-01511-AM Document 1 Filed 10/13/16 Page 1 of 2

                                                                                                                       FILED
AO 91 (Rev. 08/09) Criminal Complaint

                                                                                                                            1
                                       UNITED STATES DISTRICT COURT                                            CLERK. U.S DISTRICTCLERK
                                                                  for the                                     WESTERN DISTRICT OF TEXAS
                                                                                                               BY__________________
                                                         Western District of Texas

                 United States of America                            )

                                V.
                  CARRIZALES IV, Rocky
                                                                     )

                                                                     )        Case No.    1::R/(D
                                                                                                         ..,od1MO/
                           02/10/1989                                )

                                                                     )
                     Carrizo Springs, TX                             )

                            Defendant(s)



                                                        CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best     of my knowledge and belief.
On or about the date(s) of                       2016-10-12                  in the county of                 Dimmit            in the

      Western            District of            Texas            , the   defendant(s) violated:

             Code Section                                                      Offense Description
                                                unlawfully, knowingly and willfully possessed with intent to distribute less than 5
21 USC 841                                      grams of crystal methamphetamine, a Schedule II Controlled Substance, in
                                                violation of Title 21, USC section 841 (a) (I).
          This criminal complaint is based on these facts:




 See Attachment      1




            Continued on the attached sheet.
                                                                                                  Complainant's signature

                                                                                                    Bjoern Schreiner
                                                                                                   Printed name and title


 Sworn to before me and signed in my presence.


 Date:             10/13/2016

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 City and state:                           Del Rio. Texas                                          States Ma
                                                                                                   Printed name
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Attachment       1 United States of America         vs Rocky CARRIZALES IV

A cooperating defendant provided information      that Rocky CARRIZALES IV was distributing
narcotics in Carrizo Springs, Texas. At three different times on October 11, 2016, the Dimmit
County Sheriff's Office conducted controlled narcotics purchases from CARRIZALES IV.

On all occasions, CARRIZALES agreed    to sell narcotics to   a   cooperating defendant.

On October 11, 2016 at approximately 11:18 AM, CARRIZALES IV sold approximately 0.4 grams
of a white crystallized substance, suspected to be crystal methamphetamine, packaged in       a
small clear plastic baggie, to a cooperating defendant for $40 US Dollars at 1778 FM 1556     in
Carrizo Springs, Texas.

On October 11, 2016 at approximately 5:53 PM, CARRIZALES IV sold approximately 0.5 grams of
a white crystallized substance, suspected to be crystal methamphetamine, packaged in a small
clear plastic baggie, to a cooperating defendant for $50 US Dollars at 1778 FM 1556 in Carrizo
Springs, Texas

On October 11, 2016 at approximately 6:40 PM, CARRIZALES IV sold approximately 0.3 grams of
awhite crystallized substance, suspected to be crystal methamphetamine, packaged in two
small clear plastic baggies, to a cooperating defendant for $40 US Dollars at 1778 FM 1556 in
Carrizo Springs, Texas.

All three baggies of suspected narcotics were field-tested utilizing Narcotics Identification Kits.
All three returned positive for the chemical characteristics of methamphetamine.

All of these transactions were audio and video recorded.
